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DNJ-CR-023 Order Regarding Use of Video/Teleconferencing for Felony Proceedings (Rev. 10/2021)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA *
*
Vv. * CRIM. NO. 21-825 (ZNQ)
JOEL PEREZ-NAJERA :
ee

ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
FOR FELONY PLEAS AND/OR SENTENCINGS

In accordance with the operative COVID-19 standing orders, this Court finds:

That the Defendant (or the Juvenile) has consented to the use of video
teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

LJ

to the interests of justice, for the following specific reasons:

 

That the proceeding(s) to be held today cannot be further delayed without serious harm

Accordingly, the proceeding(s) held on this date may be conducted by:
Video Teleconferencing
Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

The Defendant (or the Juvenile) is detained at a facility lacking video

teleconferencing capability.

[ Other:

/ ’
Date: October 29, 2021 . nt €
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able Zahid N. Quraishi
United States District Judge
